         Case 2:20-cv-00302-SCJ Document 40-3 Filed 01/08/21 Page 1 of 1




                                           Verification

I, Catherine Engelbrecht, declare as follows:

    1. I am the Founder and President of True the Vote, Inc., a non-profit corporation incorpo-

rated under the laws of Texas.

    2. I have personal knowledge of True the Vote, Inc., their activities, and their intentions,

including those set out in the foregoing Defendants’ Verified Counterclaims Against Plaintiffs,

and if called on to testify I would competently testify as to the matters stated therein.

    3. I verify under penalty of perjury under the laws of the United States of America that the

factual statements in this Defendants’ Verified Counterclaims Against Plaintiffs concerning True

the Vote, Inc. and their past and intended activities are true and correct to the best of my knowl-

edge and understanding. 28 U.S.C. § 1746.

                    7th 2021.
Executed on January ____,
